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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 RILEY GAINES, et al.,
       Plaintiffs,
                                                Civil Action No.
 v.
                                                1:24-cv-01109-MHC
 NATIONAL COLLEGIATE
 ATHLETIC ASSOCIATION, et al.,
       Defendants.


        UNOPPOSED JOINT MOTION FOR EXTENSION OF TIME
                 TO RESPOND TO COMPLAINT

      State Defendants and Defendant NCAA (the “NCAA”) hereby move for a

further extension of time to respond to Plaintiffs’ Complaint (Dkt. 1). Specifically,

State Defendants and the NCAA request an extension through and including June

5, 2024. Plaintiffs do not object to this motion. In support of their joint motion,

State Defendants and the NCAA state as follows:

      1.     On March 14, 2024, Plaintiffs filed their Complaint.

      2.     Plaintiffs’ Complaint is 156 pages long and contains 637 separately

numbered paragraphs.

      3.     Due to the length of the Complaint, State Defendants and the NCAA

requested an extension of time to answer or otherwise respond to Plaintiffs’

Complaint until May 6, 2024 (Dkt. 26).
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      4.     On April 12, 2024, the Court granted the requests, extending the State

Defendants and NCAA’s deadline to respond to the Complaint until May 6, 2024

(Dkt. 27).

      5.     Since that extension, counsel for State Defendants have been working

diligently to obtain consents to accept service from each of the individually named

State Defendants, which has only recently been accomplished. However, due to the

number of individual State Defendants named, getting all State Defendants to be

able to review and approve a response to Plaintiff’s Complaint has taken longer

than it otherwise would in a case with fewer defendants.

      6.     An extension, however, will allow State Defendants’ counsel to meet

in person with many of the individual State Defendants at the May 14, 2024 Board

of Regents meeting to review and discuss the response to the Complaint.

      7.     Due to the length of the Complaint, the number of State Defendants

served, the logistical challenges in communicating with and receiving the consent

of so many Defendants, the upcoming May 14, 2024 Board of Regents meeting,

and the sensitive issues involved, State Defendants request additional time to

review and respond to Plaintiffs’ Complaint.

      8.     The NCAA joins this motion to allow all parties and the Court to

benefit from a single set of deadlines.

      9.     Pursuant to the Court’s standing order, State Defendants and the



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NCAA’s counsel have conferred with Plaintiffs’ counsel. Plaintiffs have

authorized the movants to state that this request for a second extension is

unopposed.

      10.    Granting an extension will not prejudice any party nor substantively

delay the case, as the Court has not yet entered a scheduling order. Allowing State

Defendants and the NCAA’s counsel the time needed to review and respond to

Plaintiffs’ Complaint in a deliberative manner will provide the Court with the best

response possible of these important issues without materially affecting the

administration of the case.

      11.    For these reasons, good cause for an extension of time exists and State

Defendants and the NCAA respectfully request that the Court extend their deadline

to answer or otherwise respond to Plaintiffs’ Complaint through and including June

5, 2024.

      12.    A proposed order is attached.

      Respectfully submitted this 3rd day of May, 2024.

/s/ Cari K. Dawson                        /s/ Javier I. Pico Prats
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Counsel for Defendant National       Counsel for State Defendants
Collegiate Athletic Association




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NATIONAL COLLEGIATE
ATHLETIC ASSOCIATION, et al.,
      Defendants.


                     CERTIFICATE OF COMPLIANCE

     I hereby certify, pursuant to Local Rule 5.1 and 7.1D, that the foregoing

motion has been prepared using Times New Roman, 14-point font.

     Respectfully submitted this 3rd day of May, 2024.

                                        /s/ Javier I. Pico Prats
                                        Javier I. Pico Prats
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
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       Plaintiffs,
                                                Civil Action No.
 v.
                                                1:24-cv-01109-MHC
 NATIONAL COLLEGIATE
 ATHLETIC ASSOCIATION, et al.,
       Defendants.


                           CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed the foregoing

UNOPPOSED JOINT MOTION FOR EXTENSION OF TIME TO RESPOND TO

COMPLAINT with the Clerk of Court using the CM/ECF system, which will serve

a notice to all counsel.

      This 3rd day of May, 2024.

                                        /s/ Javier I. Pico Prats
                                        Javier I. Pico Prats
